              Case 5:10-cr-50067-TLB Document 173          Filed 04/01/14 Page 1 of 11 PageID #: 2218



                                       IN THE UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF ARKANSAS
                                              FAYETTEVILLE DIVISION

                 UNITED STATES OF AMERICA

                 V.                            NO. 10-50067-002

                 JASON M. FEDELE

                               MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                        On July 30, 2012, the Defendant/Movant Jason M. Fedele

                 (hereinafter “the Defendant”) filed a 28 U.S.C. § 2255 motion.

                 (Doc. 104).         The Government has filed a Response (Doc. 114), the

                 Defendant has filed a Reply (Doc. 137)1, and the Government has

                 filed a Sur-Reply (Doc. 141).              The undersigned does not believe

                 that an evidentiary hearing is warranted in this matter, as the

                 § 2255 motion, files, and records in this case conclusively show

                 that the Defendant is not entitled to relief.                          28 U.S.C. §

                 2255(b).      See Jeffries v. United States, 721 F.3d 1008, 1014 (8th

                 Cir.       2013).      The    undersigned,       being    well   and   sufficiently

                 advised, finds and recommends as follows:

                 PROCEDURAL BACKGROUND:

                        On     September        15,   2010,       a     twelve-count     Superceding

                 Indictment          (Doc.    29)   was   filed       against   Defendant   and   Co-


                        1
                      Defendant was granted leave to file an amended § 2255
                 motion, as he indicated that he conceded some of the grounds
                 raised in his original motion lacked merit. (Docs. 125, 128.)
                 Rather than filing an amended § 2255 motion, however,
                 Defendant filed a Reply (Doc. 137), indicating that he was
                 abandoning Grounds Two, Five and Six of his § 2255 motion.

                                                            -1-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 2 of 11 PageID #: 2219



                 Defendants James Mitchell and Tiffney Fedele.             On December 6,

                 2010, Defendant pled guilty to Count One of the Superseding

                 Indictment   –   conspiring   to    use   an   interstate    facility    to

                 distribute proceeds of an unlawful activity (prostitution), and

                 to promote, manage, establish, carry on and facilitate such

                 unlawful activity, in violation of 18 U.S.C. § 1952(a)(1) & (3)

                 (the Travel Act), and 18 U.S.C. § 371.             Defendant also pled

                 guilty to Count Two of the Superseding Indictment – conspiring

                 to launder the proceeds of the above unlawful activity, in

                 violation of 18 U.S.C. § 1956(a)(1) & (h).           (Doc. 60.)

                       On July 7, 2011, Defendant was sentenced to thirty-three

                 months imprisonment on Counts One and Two, with the terms to run

                 concurrently; three (3) years supervised release on each count,

                 with the terms to run concurrently; a $200.00 Assessment; and a

                 $4,000.00 fine. (Doc. 85).         No appeal from the Judgment was

                 taken.

                 GROUNDS FOR § 2255 MOTION:

                       In the motion now before the Court, which Defendant filed

                 pro se, Defendant asserts the following grounds2 for relief:

                       Ground One: Defendant’s conviction and sentence must be

                 vacated and dismissed based on the Supreme Court’s ruling in

                 United States v. Santos, 553 U.S. 507 (2008)(plurality opinion),



                       2
                      As noted above, Defendant abandoned Grounds Two, Five and
                 Six in his Reply.

                                                    -2-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173      Filed 04/01/14 Page 3 of 11 PageID #: 2220



                 and his counsel was ineffective in failing to argue the Santos

                 defect;

                       Ground Three: Defendant is actually innocent-his plea of

                 guilty    was   unknowing       and   involuntary     due       to   ineffective

                 assistance of counsel; and

                       Ground    Four:   Prosecutorial         Misconduct    -    there   was   no

                 substantial federal interest in prosecuting the Defendant and

                 the prosecution fabricated evidence.

                       GROUND ONE: DEFENDANT’S CONVICTION AND SENTENCE MUST BE

                 VACATED AND DISMISSED BASED ON THE SUPREME COURT’S RULING IN

                 UNITED STATES V.SANTOS AND COUNSEL WAS INEFFECTIVE IN FAILING TO

                 RAISE THE SANTOS DEFECT:

                       To establish an ineffective assistance of counsel claim, a

                 defendant must demonstrate that counsel’s representation fell

                 below an objective standard of reasonableness, and that the

                 defendant was prejudiced by counsel’s deficient performance.

                 See Strickland v. Washington, 466 U.S. 668, 687 (1984).                   As to

                 the performance prong of the inquiry, the scrutiny of counsel’s

                 performance must be highly deferential, without the distorting

                 effects of hindsight, and there is a strong presumption that

                 counsel’s conduct fell within the wide range of reasonable

                 professional assistance.         Id. at 689.     As to the prejudice prong

                 of the inquiry, a defendant must demonstrate that the outcome of

                 the   plea   process    would    have    been   different       with   competent


                                                         -3-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 4 of 11 PageID #: 2221



                 advice. Id.    Specifically, a defendant must show that there is

                 a reasonable probability that, but for counsel’s errors, he

                 would not have pleaded guilty and would have insisted on going

                 to trial.   See Hill v. Lockhart, 474 U.S. 52, 59 (1985); Watson

                 v. United States, 682 F.3d 740, 745 (8th Cir. 2012).

                       At the time Santos was decided in 2008, the federal money

                 laundering statute, 18 U.S.C. § 1956, did not define the term

                 “proceeds.”     In Santos, a divided Supreme Court held that the

                 term proceeds referred to profits rather than receipts, as

                 applied in the illegal gambling context.          Defendant argues that

                 he “was only charged with conspiring . . . to distribute the

                 ‘proceeds’ of an unlawful activity and [his case] is analogous

                 to Santos.”    (Doc. 104 at pg. 4.)

                       In 2009, following the Supreme Court’s holding in Santos,

                 Congress amended § 1956 to define the term proceeds.                  Fraud

                 Enforcement   and   Regulatory     Act   of   2009,   Pub.L.    111-21,    §

                 2(f)(1)(B), 123 Stat. 1617, 1618.             As amended, the statute

                 defines “proceeds” broadly to include gross receipts. 18 U.S.C.

                 § 1956(c)(9).     As Defendant pled guilty in 2010, the amended

                 statutory definition and not the Santos definition of proceeds

                 was applicable to his case.         Accordingly, Defendant’s Santos

                 challenge to his conviction for conspiracy to commit money

                 laundering (Count Two) is without merit.

                       With regard to Defendant’s conviction for conspiring to


                                                    -4-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 5 of 11 PageID #: 2222



                 violate the Travel Act (Count One), this conviction was based

                 not just on using an interstate facility to distribute the

                 proceeds   of   the   prostitution       enterprise,   but   on   using   an

                 interstate facility to promote, manage, establish, carry on and

                 facilitate the prostitution enterprise.          In the plea agreement,

                 Defendant admitted to using the telephone to operate and manage

                 the prostitution enterprise, and this alone was sufficient to

                 support his conviction on Count One.

                       In any event, Defendant stipulated to the following facts

                 in the Plea Agreement:

                       The investigation revealed that the escort service was
                       actually an interstate and intrastate prostitution
                       enterprise which employed escorts to engage in sex
                       acts with customers for monetary payment and that
                       Mitchell   owned   and   operated   the   prostitution
                       enterprise from approximately July 2003 until at least
                       August 11, 2010, when Mitchell was arrested. During
                       this period of time, Mitchell conspired with other
                       individuals to conduct the prostitution enterprise[,]
                       including business partners who at one time or another
                       shared the ownership responsibilities and profits of
                       the prostitution enterprise with Mitchell, prostitutes
                       who would perform sexual acts with customers under the
                       direction and control of Mitchell and other co-
                       conspirators, and other employees who had various
                       responsibilities within the prostitution enterprise.
                       Mitchell and the other co-conspirators knew that the
                       prostitutes were engaging in sexual acts for monetary
                       payment. . . .

                       Prostitutes working for Mitchell were paid by
                       customers for sexual services with cash, checks and
                       credit cards. Mitchell charged customers $200.00 for
                       an hour with females working for his service.      The
                       female kept $100.00 for payment of her services and
                       Mitchell kept the other $100.00 as his portion of each
                       call. . . .


                                                    -5-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 6 of 11 PageID #: 2223



                        The investigation identified [Defendant] as an
                        employee/business partner of Mitchell who conspired
                        with Mitchell and others to operate the prostitution
                        enterprise. . . .

                        On or about September 25, 2009, [Defendant] directed
                        Jane Doe #2, a prostitute in Springfield, Missouri, to
                        travel in interstate commerce from Missouri to the
                        Western District of Arkansas to engage in acts of
                        prostitution with customers of the enterprise.

                 (Doc. 60 at pgs. 4-9) (emphasis added).            These facts establish

                 that   at   least   part   of   the     proceeds   of   the   prostitution

                 enterprise were, indeed, profits.

                        Based upon the foregoing, the undersigned sees no merit to

                 Defendant’s Santos argument or to his claim that counsel was

                 ineffective for failing to raise this argument.

                 GROUND THREE: DEFENDANT IS ACTUALLY INNOCENT-HIS PLEA OF GUILTY
                 WAS UNKNOWING AND INVOLUNTARY DUE TO INEFFECTIVE ASSISTANCE OF
                 COUNSEL:

                        Defendant argues that the Government was required, under

                 Counts 1 and 2, to prove that he “persuaded” or “induced” or

                 “enticed” or “coerced” the escorts to have sexual relations with

                 clients, and that there was no proof of such, nor did the

                 prosecution    allege   Defendant       was   guilty    of   such   conduct.

                 Accordingly, Defendant argues that because he was actually

                 innocent, his counsel was ineffective and his plea was not

                 voluntary or knowing.

                        To establish a violation of the Travel Act, the Government

                 was required to prove: (1) an unlawful activity; (b) knowledge

                 of the Defendant of the unlawful activity; and (c) the use of

                                                       -6-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 7 of 11 PageID #: 2224



                 interstate commerce (1) to facilitate the carrying on of the

                 unlawful activity or, (2) to distribute the proceeds.            18 U.S.C.

                 § 1952(a); United States v. Corona, 885 F.2d 766, 771 (11th Cir.

                 1989), cert. denied, 494 U.S. 1091 (1990).             Thus, contrary to

                 Defendant’s assertion, the Government did not have to prove that

                 the   Defendant   persuaded,   induced,     enticed,    or   coerced    the

                 escorts to have sexual relations with clients; rather, the

                 Government only had to prove that Defendant knew the escorts

                 were engaging in acts of prostitution and that Defendant used a

                 facility of interstate commerce to facilitate the carrying on of

                 this activity or to distribute the proceeds of this activity.

                 As detailed above, in the Plea Agreement’s stipulation of facts,

                 Defendant admitted having knowledge of the escorts engaging in

                 acts of prostitution.

                       With respect to the money laundering count, the Government

                 had to prove: (1) defendant conducted, or attempted to conduct

                 a financial transaction that affected interstate or foreign

                 commerce; (2) the financial transaction involved proceeds of

                 unlawful activity; (3) defendant knew the property represented

                 proceeds of some form of unlawful activity; and (4) defendant

                 conducted or attempted to conduct the financial transaction

                 knowing the transaction was intended to promote the carrying on

                 of illegal activity.     See 18 U.S.C. § 1956(a)(1)(A)(i); United

                 States v. Diaz-Pellegaud, 666 F.3d 492, 498 (8th Cir.), cert.


                                                    -7-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 8 of 11 PageID #: 2225



                 denied, 133 S. Ct. 235 (2012).      Again, Defendant admitted all of

                 these elements in the plea agreement’s stipulation of facts.

                       Based upon the foregoing, Defendant has failed to establish

                 his actual innocence, and his ineffective assistance of counsel

                 claim in this regard, therefore, fails.

                 GROUND FOUR: PROSECUTORIAL MISCONDUCT - THERE WAS NO SUBSTANTIAL
                 FEDERAL INTEREST IN PROSECUTING THE DEFENDANT AND THE
                 PROSECUTION FABRICATED EVIDENCE:

                       It appears this claim is procedurally barred, as Defendant

                 did not file a direct appeal and assert this claim on appeal.

                 Issues not raised in a direct appeal and raised for the first

                 time in a § 2255 motion are procedurally defaulted.             See Meeks

                 v. United States, 742 F.3d 841, 844 (8th Cir. 2014).          A defendant

                 must demonstrate actual innocence or cause and prejudice to

                 excuse a procedural default.         Id.      As discussed above, the

                 undersigned sees no merit to Defendant’s contention that he is

                 actually innocent of the charges to which he pled guilty, and

                 Defendant has not demonstrated any cause for his failure to

                 raise this claim on direct appeal.            While it is, therefore,

                 unnecessary to address the merits of this claim, the undersigned

                 will nevertheless do so.

                       Defendant argues that there was “no substantial federal

                 interest” in prosecuting him.        This same argument was made in

                 United States v. Dickson, 2012 WL 5845120, *4 (W.D. Ark. Oct.

                 29, 2012), adopted, 2012 WL 5862833 (2012), where the Court


                                                    -8-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173             Filed 04/01/14 Page 9 of 11 PageID #: 2226



                 noted   that      the    Travel    Act        specifically         defined     “unlawful

                 activity” to include state prostitution offenses and held that

                 it was clear that Congress “intended to extend to Federal

                 Prosecution those misdemeanor acts that were engaged in crossing

                 state lines in committing these offenses.”                          Dickson, 2012 WL

                 5845120 at *3-4; 18 U.S.C. § 1952(b).                           Consistent with the

                 holding      in     Dickson,    the      undersigned          believes      Defendant’s

                 argument in this regard is without merit.

                       Defendant further argues that the prosecution “made ‘false

                 allegations’        to   Mitchell’s          attorney       that   [Defendant]     would

                 testify      that     ‘Mitchell        was     aware     that      minors     worked   as

                 prostitutes in Mitchell’s escort service’ and [Defendant] never

                 told [the prosecution] any such ‘LIES’ . . . .                        This whole case

                 against [Defendant] and others . . . was based on ‘fabricated’

                 evidence which was all lies . . . .                         which constituted fraud

                 and bad faith.”          (Doc. 104 at pg. 9.)               Defendant’s allegations

                 are conclusory and unsupported.                     See Morelos v. United States,

                 709   F.3d    1246,      1253   (8th    Cir.        2013)    (finding    no    merit   to

                 defendant’s claim of prosecutorial misconduct as it was based

                 only on unsupported allegations).                     Further, Defendant’s guilty

                 plea forecloses all pre-plea non-jurisdictional attacks on his

                 conviction, including prosecutorial misconduct.                              See United

                 States v. Shafer, 2006 WL 995726, *1 (8th Cir. 2006).

                 CONCLUSION:


                                                               -9-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173     Filed 04/01/14 Page 10 of 11 PageID #: 2227



                       Based     upon   the    foregoing          analysis,         the   undersigned

                 recommends that Defendant’s § 2255 motion (Doc. 98) be DENIED

                 and DISMISSED WITH PREJUDICE.

                       An appeal may not be taken in this matter unless the Court

                 issues a certificate of appealability, which shall be issued

                 only if "the applicant has made a substantial showing of the

                 denial of a constitutional right."                     28 U.S.C. § 2253(b) &

                 (c)(2).      A "substantial showing" is a showing that “issues are

                 debatable among reasonable jurists, a court could resolve the

                 issues differently, or the issues deserve further proceedings.”

                 Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997), cert. denied,

                 525   U.S.    834   (1998).        Based        upon   the    above      analysis   of

                 Defendant’s § 2255 motion, the undersigned does not believe that

                 there   is    any   basis    for   the     issuance      of    a    certificate     of

                 appealability and, therefore, recommends, that a certificate of

                 appealability be denied.

                       The parties have fourteen days from receipt of the report

                 and recommendation in which to file written objections pursuant

                 to 28 U.S.C. § 636(b)(1).          The failure to file timely objections

                 may result in waiver of the right to appeal questions of fact.

                 The parties are reminded that objections must be both timely and

                 specific to trigger de novo review by the district court.




                                                          -10-


AO72A
(Rev. 8/82)
              Case 5:10-cr-50067-TLB Document 173   Filed 04/01/14 Page 11 of 11 PageID #: 2228



                       DATED this 1st day of April, 2014.




                                              /s/ Erin L. Setser
                                              HON. ERIN L. SETSER
                                              UNITED STATES MAGISTRATE JUDGE




                                                     -11-


AO72A
(Rev. 8/82)
